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                             IN THE UNITED STATES DISTRICT COURT
                                 FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,

                        Plaintiffs,                                           8:13CR43

        vs.
                                                                               ORDER
MIKE SCOTT ROSELIUS,

                        Defendant.


This matter is before the court on defendant's MOTION TO CONTINUE FILING PRETRIAL
MOTIONS [139]. For good cause shown, I find that the motion should be granted. The defendant will
be given an approximate 45-day extension. Pretrial Motions shall be filed by August 30, 2013.


        IT IS ORDERED:


        1.      Defendant's MOTION TO CONTINUE FILING PRETRIAL MOTIONS [139] is
granted. Pretrial motions shall be filed on or before August 30, 2013.


        2.      The ends of justice have been served by granting such motion and outweigh the interests
of the public and the defendant in a speedy trial. The additional time arising as a result of the granting of
the motion, i.e., the time between July 16, 2013 and August 30, 2013, shall be deemed excludable time in
any computation of time under the requirement of the Speedy Trial Act for the reason defendant's counsel
required additional time to adequately prepare the case, taking into consideration due diligence of
counsel, and the novelty and complexity of this case. The failure to grant additional time might result in a
miscarriage of justice. 18 U.S.C. § 3161(h)(8)(A) & (B).




        Dated this 16th day of July, 2013.

                                                           BY THE COURT:

                                                           s/ F.A. Gossett, III
                                                           United States Magistrate Judge
